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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                 4:08CR00217-04 WRW

DAVID IGNACIO MONTIJO-ISLAVA

                                         ORDER

        The United States’ Motion to Dismiss Without Prejudice (Doc. No. 238) is GRANTED.

The case is DISMISSED WITHOUT PREJUDICE as to defendant David Ignacio Montijo-Islava

only.

        IT IS SO ORDERED this 8th day of July, 2010.



                                                       /s/Wm. R. Wilson, Jr.
                                                 UNITED STATES DISTRICT JUDGE
